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  (llet. I l/30i20ilt

                                      UNITED STATES DISI'RICT. COURT
                                      WESTERN DISTRICT OF LOUISIANA
                                        MONROE                     DIVISION


 STATE OF LOU|S|ANA, et al.
                                                                        Case No.      2:21-cv-00778
                         Plaintiff
                           VS.
                                                                            Judge Terry A. Doughty
 JOSEPH R. BIDEN, JR. et al.
                        Defbndant

                                     MOTION TO APPEAR PRO HAC VICE

       In accordance with the local rules for the
                                                   united States District court, western District
 of Louisiana, application is made to be admittecl
                                                    pro hac vice to the bar of this court for the
 purpose of appearing on behalf         of   the State of Alaska
 in the above described action.



           I arn ineligible to become a member of this
                                                       court, but I am a mcmber in good standing
          of the bar of the united States District court for the District
                                                                                 of    colorado
          or thc bar     of                             court, which is the highest court of such state.
          Attached hereto is a certificate of good standing from
                                                                 such court.



          Payment of the applicable fee of $105.00 is made via
                                                               the oour1's electronic             filing system
          using Pay.gov.



         There have been no disciplinary proceedings or
                                                        criminal charges instituted against me.


         In accordance with the local rules for the United States
                                                                  District court, western District
         of l-ouisiana, Elizabeth B. Murrill            of the     fim of   Louisiana Department of Justice
         is appointed a local counsel.




                                                 Page   I of   3
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      '           I alrthorize the clerk of
                                            court fbr the western District
                                                                           of Louisiana to transmit notice
                  entries ofjudgments and                                                                                   of
                                             orders to me under Fed.R.civ.p.
                                                                               77, Fed.R.cr.p. 49, LR
                5
                        '
                 '7 '10 I also agree to receive notice electronically
                                                                       from other parties and the court via
               electronic mail' I understand
                                               that electronic mail filter software
                                                                                  (SpAM filter) may
               interfere with receipt of e-mail
                                                notices and have verified that any
                                                                                   such software installed
               on my computer or network will
                                                 not filter our messages sent from
               clerk(4lawd'uscourts'qov. I understand
                                                         this electronic notice will be in lieu
                                                                                                of notice
               by any other means' I understand
                                                 it is my responsibility to advise the clerk,s
                                                                                                 office
               promptly in writing of any physical
                                                   address changes ancJ/or              update my electronic mail
               address witlrirr the court,s electronic
                                                          filing    systern.
    Respectfu       lly submitted.




          Signature     ol           Attorney                                  Signature of Local Counsel
   Applying attorney must sign. No ..s/ signature,,
                                                               Local counsel may use typed .,s/ signature,,
   accepted.                                                                                                and must tjle
                                                               erectron tca lly.


  PLEASE TYPE OR PRINT LEGIBLY;
                                                               LOCAL COUNSEL INFORMATION                      :

  Narne: Ronald W. Opsahl
                                                               Name: Elizabeth B. Murrill
  nirm: Alaska Department of Law                               nirm; Louisiana Department of Justice
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                                                                                        -




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                                              Certificate of Service

 See FederalRule   of civilProcedure 5(dxlxB) and Federal
                                                                   Rule of criminalprocedure 4g(b)(1) to
 determine whether a certificate of service
                                               is required for this case and insert
                                                                                    one, as needed. The court may
 issue a deticiency for lack of a certificate.




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                                LINITED STATES DISTRICT COURT
                               WESTERN DIS'|RICI' OF' LOUISIANA
                                 MONROE                   DIVISION


  STATE OF LOUIS|ANA, et al.
                                                                  Case   No. 2:21_cv-0Ol7g
                  Plaintiff
                    VS.
                                                                    Judge Terry A. Doughty
 JOSEPH R. BIDEN, JR., et al.

                 Defendant


                                              ORDER


         IT IS ORDERED that       Ronatd W. Opsaht
                                                                                   be and is hereby
  admitted to the bar of this Courl pro
                                        hac vice on behalf   of   the State of Alaska
                                   in the above described action.
         SO ORDERED on this. the
                                               day   of




                                                                  U.S. Magistrate Judge
